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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
UNITED STATES, et al.,                         )
                                               )
                        Plaintiffs,            )
         v.                                    )      No. 1:23-cv-00108-LMB-JFA
                                               )
GOOGLE LLC,                                    )
                                               )
                        Defendant.             )

                                      NOTICE OF HEARING

         Please take notice that on Friday, March 24, 2023, at 10:00 a.m. or as soon thereafter as

counsel may be heard, Plaintiffs United States, the Commonwealth of Virginia, and the States of

California, Colorado, Connecticut, New Jersey, New York, Rhode Island, and Tennessee and

Defendant Google LLC will move for entry of a jointly proposed discovery schedule and

extension of deadlines for response to the complaint in this action, and that the hearing will be

held at the Albert V. Bryan U.S. Courthouse, 401 Courthouse Square, Alexandria, Virginia

22314.

Dated: March 16, 2023
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Respectfully submitted,
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